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                EXHIBIT 19
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                                              Why Work               94-19Urquhart
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                                               Practice Areas       Attorneys      The Firm       Careers       Contact




 Our Culture                                               WHY WORK HERE               WHAT DISTINGUISHES OUR FIRM



 Each year the firm hires:                                 OUR PHILOSOPHY

    Recent law school graduates
    Judicial law clerks
    Laterals
                                                                                                         THE
                                                                                           OPENING STATEMENT

                                                               At Quinn Emanuel you will not have to wait 8 to 10 years to do interesting work.




                                                                                                                      YOU WILL
                                                                                                                                                      YOU WILL
                                                 YOU WILL MEET                                                         ATTEND
                                                                                 YOU WILL GO TO                                                     COMPETE WITH
                                                 CLIENTS TO GIVE                                                   DEPOSITIONS TO
                                                                                 COURT TO ARGUE                                                         YOUR
                                                  THEM ADVICE                                                         EXAMINE
                                                                                                                                                     ADVERSARIES
                                                                                                                     WITNESSES


                                                 not to sit and listen               not to carry                   not to take notes              not other lawyers
                                                                                   someone's bags                                                      at the firm




                                                                 Some of the best trial lawyers in the country will show you how to become a master
                                                               of the courtroom. If you believe you have the potential to do these things before your
                                                                 peers, Quinn Emanuel is the place for you. Every year, a new cadre of gifted young
                                                                    lawyers with their pick of job offers makes Quinn Emanuel their first choice.




                                                                                                         THE
                                                                                                   EVIDENCE

                                                                                         Click on a box below for more details.




                                                 TRIAL LAWYERS,                               TRIAL LAWYERS,                              WE WILLTRAIN YOU
                                                 NOT JUST LITIGATORS                           NOT BAG CARRIERS                                    - REALLY




                                                                 It is an open secret that very few big United States law firms try many cases
                                                                 anymore. Quinn Emanuel does. Unlike most large corporate firms, we do not
                                                                 litigate cases for years only to settle on the courthouse steps. We try lots of
                                                                 cases—and win them. See a representative list of our notable trials and
                                                                 settlements. We are frequently brought in at the eleventh hour to replace
                                                                 existing counsel before trial (after they fail to obtain summary judgment)

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                                                                                     and in several cases even in the middle of trial. Once we took over a case
                                                                                     three weeks into the trial—and won an




                                                                                          $80 million                                               verdict.

                                                                                     See a representative list of recent matters in which we have been
                                                                                     substituted in as trial counsel.

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                                                                          PRO BONO                                                                               WOMEN
                                                                                                                GLOBAL EXPERIENCE
                                                                            WORK                                                                               RISE TO THE TOP
                                                                                                                          PROGRAM




                                                                                                                                                          COMMITMENT
                                                                        BUILDING                                        PARTNERSHIP
                                                                                                                                                               TO DIVERSITY:
                                                                       FRIENDSHIPS                                CONSIDERATION
                                                                                                                                                         FACTS NOT PROMISES




                                                                                                                            THE
                                                                                                                CLOSING STATEMENT

                                                                               Each year we attract some of the best and brightest students from America's best law
                                                                                            schools. They could go anywhere. Why do they choose us?

                                                                                                  Because we really are different.




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